Case 1:23-cr-00086-JMS     Document 102     Filed 01/13/25      Page 1 of 19 PageID.415




  CLARE. E. CONNORS #7936
  United States Attorney
  District of Hawaii

  CRAIG S. NOLAN
  Chief, White Collar Crimes                                   FILED IN THE
                                                      UNITED STATES DISTRICT COURT
                                                          DISTRICT OF HAWAI I
  MICHAEL F. ALBANESE #942 1
  Assistant U.S. Attorney                                       JAN 13 2024
  Room 6100, PJKK Federal Building
                                                      at~     o'clock and (J ~ min.~   M
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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAll

   UNITED STATES OF AMERICA,                 ) CR. NO. 23-00086 JMS (2)
                                             )
                     Plaintiff,              ) MEMORANDUM OF PLEA
                                             ) AGREEMENT
        vs.                                  )
                                             ) DATE:
   WILLIAM CASPINO,                          ) TIME
                                             ) ruDGE:
                     Defendant.              )
                                             )
 - - - - - - - - --                          )


                   MEMORANDUM OF PLEA AGREEMENT

        Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the

  UNITED STATES OF AMERICA, by its attorney, the United States Attorney for
Case 1:23-cr-00086-JMS      Document 102        Filed 01/13/25   Page 2 of 19 PageID.416




  the District of Hawaii, and the defendant, WILLIAM CASPINO, and his attorney,

  Robert Christensen, Esq., have agreed upon the following:

                                    THE CHARGES

        1.     The defendant acknowledges that he has been charged in the

  Indictment with violating Title 18, United States Code, Sections 371 and 1955.

        2.     The defendant has read the charges against him contained in the

  Indictment, and those charges have been fully explained to him by his attorney.

        3.     The defendant fully understands the nature and elements of the crimes

  with which he has been charged.

                                 THE AGREEMENT

        4.     The defendant will enter a voluntary plea of guilty to Count 2 of the

  Indictment, which charges him with conducting, financing, managing, supervising,

  directing, and owning an illegal gambling business. In return, the government

  agrees to move to dismiss Count 1 of the Indictment as to the defendant after

  sentencing, and agrees to the sentencing stipulations set forth in paragraph 10.

        5.     The defendant agrees that this Memorandum of Plea Agreement shall

  be filed and become part of the record in this case.

        6.     The defendant enters this plea because he is in fact guilty of

  conducting, financing, managing, supervising, directing, and owning an illegal

                                            2
Case 1:23-cr-00086-JMS       Document 102         Filed 01/13/25   Page 3 of 19 PageID.417




  gambling business as charged in Count 2 of the Indictment, and he agrees that this

  plea is voluntary and not the result of force or threats.

                                      PENALTIES

        7.     The defendant understands that the penalties for the offense to which

  he is pleading guilty include:

               a.     A term of imprisonment of up to 5 years and a fine of up to

  $250,000, plus a term of supervised release of up to 3 years.

               b.     In addition, the Court must impose a $100 special assessment as

  to each count to which the defendant is pleading guilty. The defendant agrees to

  pay $100 for each count to which he is pleading guilty to the District Court's

  Clerk's Office, to be credited to said special assessments, before the

  commencement of any portion of sentencing. The defendant acknowledges that

  failure to make such full advance payment in a form and manner acceptable to the

  prosecution will allow, though not require, the prosecution to withdraw from this

  Agreement at its option.

               c.     Forfeiture. Pursuant to 18 U.S.C. § 981(a)(l)(C) and 28

  U.S.C. § 2461, forfeiture of any property, real or personal, which constitutes or is

  derived from proceeds traceable to a violation of a specified unlawful activity

  within the meaning of 18 U .S.C. § 1956(c)(7) or a conspiracy to commit such

                                              3
Case 1:23-cr-00086-JMS      Document 102        Filed 01/13/25   Page 4 of 19 PageID.418




  offense, and/or forfeiture of any property, including money, used in violation of

  Title 18, United States Code, Section 1955.

                            FACTUAL STIPULATIONS

        8.     The defendant admits the following facts and agrees that they are not

  a detailed recitation, but merely an outline of what happened in relation to the

  charge to which the defendant is pleading guilty:

               a.    In June 2020, co-defendant Edward Caspino and the defendant,

        purchased the property located at 87-881 Iliili Road from Howard

        U nebasami. The title to the land states that the property was purchased by

        Lavern Joseph and the defendant; however, Edward Caspino and the

        defendant provided the funds for the purchase, including the funds for

        ongoing payments for the property. Lavern Joseph used funds provided by

        Edward Caspino~ the defendant, or both, to write checks (both cashier's

        checks and personal checks) to make the monthly payments for the property.

               b.    At some point after June 2020, Edward Caspino and the

        defendant, working with others, began holding regular chicken fight events

        at 87-881 Iliili Road. The events involved gambling. The chicken fight

        gambling at these events was unlawful under the laws of the State of Hawaii

        and typically generated more than $2000 on each day of operation. The

                                            4
Case 1:23-cr-00086-JMS        Document 102        Filed 01/13/25   Page 5 of 19 PageID.419




        chicken fight events continued up to at least March 2023. The defendant

        was aware of this activity. The defendant's role with respect to these fights,

        in addition to being a co-owner, included (i) scheduling the days on which

       the fights would occur, (ii) managing the day-to-day operation of the

        chicken fights, (iii) and assisting co-defendant Edward Caspino to maintain

       the chicken fight property.

              c.        Through his attendance at these events, and his knowledge of

        how chicken fighting works, the defendant is aware that:

                   1.         Each chicken fight event included a number of fights

              between roosters. Prior to the fight, the rooster handlers attached

              metal blades called "gaffs" to the claw of the rooster. A fight ended

              when one rooster is killed or maimed. A typical fight at 87-881 Iliili

              Road involved between three and five roosters per team. Larger

              events involved more than 50 teams.

                   11.        For the chicken fights hosted at 87-881 Iliili Road,

              individuals paid an entry fee (typically between $500 and $2000) to

              enter a team of roosters. The team with the best record after all such

              fights received a cash prize.




                                              5
Case 1:23-cr-00086-JMS         Document 102        Filed 01/13/25   Page 6 of 19 PageID.420




                   iii.         At these fights, betting on the outcome of the chicken

              fights was common, both between competing teams and among

              spectators. The amount of individual bets ranged from $10 among

              spectators to over $1000. At some of the fights, other games of

              chance such as "craps" or "pepito" were in operation. All of these

              bets constitute "gambling," as that term is defined by Haw. Rev. Stat.

              § 712-1220, in that the bettor, "stakes or risks something of value

              upon the outcome of a contest of chance or a future contingent event

              not under his control or influence, upon an agreement or

              understanding that he or someone else will receive something of value

               in the event of a certain outcome."

              d.          Based on the defendant's role in and knowledge of the chicken

        fights at 87-881 Iliili Road, he was aware that the chicken fight operation

        involved five or more persons. This number included persons tasked with

        generating the matchups between teams, officiating fights, security,

        collecting parking fees, collecting seat fees, selling concessions, and clean-

        up.

        9.     Pursuant to Section 6B 1.2 of the Sentencing Guidelines, the parties

  agree that the charge to which the defendant is pleading guilty adequately reflects

                                               6
Case 1:23-cr-00086-JMS      Document 102        Filed 01/13/25   Page 7 of 19 PageID.421




  the seriousness of the actual offense behavior and that accepting this Agreement

  will not undermine the statutory purposes of sentencing.

                          SENTENCING STIPULATIONS

        10.    Pursuant to CrimLR 32.l(a) of the Local Rules of the United States

  District Court for the District of Hawaii and Section 6Bl.4 of the Sentencing

  Guidelines, the parties stipulate to the following for the purpose of the sentencing

  of the defendant in connection with this matter:

               a.    The government agrees not to seek an upward departure based

  on USSG § 2E3.l, Application Note 2 for an offense involving animal fighting on

  an exceptional scale.

               b.    The parties stipulate that the facts support a three-point

  enhancement for manager or supervisor of a criminal activity involving five or

  more participants under U.S.S.G. § 3Bl.l(b). The government agrees not to seek

  a greater enhancement for organizer or leader under U.S.S.G. § 3Bl.l(a). The

  defendant understands that this stipulation is binding on the government and the

  defendant, but not on the Court.

               c.    As of the date of this agreement, it is expected that the

  defendant will enter a plea of guilty prior to the commencement of trial, will

  truthfully admit his involvement in the offense and related conduct, and will not

                                            7
Case 1:23-cr-00086-JMS      Document 102         Filed 01/13/25   Page 8 of 19 PageID.422




  engage in conduct that is inconsistent with such acceptance of responsibility. If

  all of these events occur, and the defendant's acceptance of responsibility

  continues through the date of sentencing, a downward adjustment of 2 levels for

  acceptance of responsibility will be appropriate. See U.S.S.G. § 3El.l(a) and

  Application Note 3.

               d.     The United States Attorney agrees that the defendant's

  agreement herein to enter into a guilty plea constitutes notice of intent to plead

  guilty in a timely manner, so as to permit the government to avoid preparing for

  trial as to the defendant. Accordingly, the United States Attorney anticipates

  moving in the Government's Sentencing Statement for a one-level reduction in

  sentencing offense level pursuant to Guideline § 3E 1.1 (b), if the defendant is

  otherwise eligible. The defendant understands that notwithstanding its present

  intentions, and still within the Agreement, the prosecution reserves the rights ( 1) to

  argue to the contrary in the event of receipt of new information relating to those

  issues, and (2) to call and examine witnesses on those issues in the event that either

  the United States Probation Office finds to the contrary of the prosecution's

  intentions or the Court requests that evidence be presented on those issues.

         11.   The parties agree that notwithstanding the parties' Agreement herein,

  the Court is not bound by any stipulation entered into by the parties but may, with

                                             8
Case 1:23-cr-00086-JMS      Document 102         Filed 01/13/25   Page 9 of 19 PageID.423




  the aid of the presentence report, determine the facts relevant to sentencing. The

  parties understand that the Court's rejection of any stipulation between the parties

  does not constitute a ref1:1sal to accept this Agreement since the Court is expressly

  not bound by stipulations between the parties.

         12.   Besides the above-described disagreement about leadership role, the

  parties represent that as of the date of this agreement there are no material facts in

  dispute.

                         APPEAL/COLLATERAL REVIEW

         13.   The defendant is aware that he has the right to appeal his conviction

  and the sentence imposed. The defendant knowingly and voluntarily waives the

  right to appeal, except as indicated in subparagraph "b" below, his conviction and
                                                                                            l
                                                                                            !
  any sentence within the Guidelines range as determined by the Court at the time of

  sentencing, and any lawful restitution or forfeiture order imposed, or the manner in

  which the sentence, restitution, or forfeiture order was determined, on any ground

  whatsoever, in exchange for the concessions made by the prosecution in this

  Agreement. The defendant understands that this waiver includes the right to

  assert any and all legally waivable claims.

               a.     The defendant also waives the right to challenge his conviction

  or sentence or the manner in which it was determined in any collateral attack,

                                             9
Case 1:23-cr-00086-JMS     Document 102      Filed 01/13/25    Page 10 of 19 PageID.424




  including, but not limited to, a motion brought under Title 28, United States Code,

  Section 2255, except that the defendant may make such a challenge (1) as

  indicated in subparagraph "b" below, or (2) based on a claim of ineffective

  assistance of counsel.

               b.    If the Court imposes a sentence greater than specified in the

  guideline range determined by the Court to be applicable to the defendant, the

  defendant retains the right to appeal the portion of his sentence greater than

  specified in that guideline range and the manner in which that portion was

  determined and to challenge that portion of his sentence in a collateral attack.

               c.    The prosecution retains its right to appeal the sentence and the

  manner in which it was determined on any of the grounds stated in Title 18, United

  States Code, Section 3742(b).

                             FINANCIAL DISCLOSURE

        14.    In connection with the collection of restitution or other financial

  obligations, including forfeiture as set forth below, that may be imposed upon him,

  the defendant agrees as follows:

               a.    The defendant agrees to fully disclose all assets in which he has

  any interest or over which he exercises control, directly or indirectly, including any

  assets held by a spouse, nominee, or third party. The defendant understands that

                                            10
Case 1:23-cr-00086-JMS     Document 102     Filed 01/13/25    Page 11 of 19 PageID.425




  the United States Probation Office (USPO) will conduct a presentence

  investigation that will require the defendant to complete a comprehensive financial

  statement. To avoid the requirement of the defendant completing financial

  statements for both the USPO and the government, the defendant agrees to

  truthfully complete a financial statement provided to the defendant by the United

  States Attorney's Office. The defendant agrees to complete the disclosure

  statement and provide it to the USPO within the time frame required by the United

  States Probation officer assigned to the defendant's case. The defendant

  understands that the USPO will in tum provide a copy of the completed financial

  statement to the United States Attorney's Office. The defendant agrees to provide

  written updates to both the USPO and the United States Attorney's Office

  regarding any material changes in circumstances, which occur prior to sentencing,

  within seven days of the event giving rise to the changed circumstances. The

  defendant's failure to timely and accurately complete and sign the financial

  statement, and any written update thereto, may, in addition to any other penalty or

  remedy, constitute the defendant's failure to accept responsibility under U.S.S.G §

  3El.l.

               b.    The defendant expressly authorizes the United States

  Attorney's Office to obtain his credit report. The defendant agrees to provide

                                           11
Case 1:23-cr-00086-JMS      Document 102      Filed 01/13/25     Page 12 of 19 PageID.426




  waivers, consents, or releases requested by the United States Attorney's Office to

  access records to verify the financial information, such releases to be valid for a

  period extending 90 days after the date of sentencing. The defendant also

  authorizes the United States Attorney's Office to inspect and copy all financial

  documents and information held by the USPO.

               c.     Prior to sentencing, the defendant agrees to notify the Financial

  Litigation Unit of the U.S. Attorney's Office before making any transfer of an

  interest in property with a value exceeding $1,000 owned directly or indirectly,

  individually or jointly, by the defendant, including any interest held or owned

  under any name, including trusts, partnerships, and corporations.

                                     FORFEITURE

         15.   As part of his acceptance of responsibility and pursuant to 18 U.S.C.

  § 981(a)(l)(C) and 28 U.S.C. § 2461, the defendant agrees as follows:

               a.     The defendant agrees to forfeit to the United States all of his

  right, title, and interest in the following property (the "Specific Property"):

                      1.     $468,800.00 in U.S. currency seized on or about March

  2, 2023 from safe deposit boxes at Bank of Hawaii, Waianae Branch;

                      11.    $122,763.00 in U.S. currency seized on or about March

   29, 2023 from a residence on Moekolu Street in Waianae, Hawaii;

                                             12
Case 1:23-cr-00086-JMS       Document 102     Filed 01/13/25     Page 13 of 19 PageID.427




                      111.   All right, title, and interest, including all appurtenances

  and improvements thereon, in the real property known as 87-881 Iliili Road,

  Waianae, Hawaii 96792.

               b.     The defendant acknowledges that the Specific Property is

  subject to forfeiture pursuant to 18 U.S.C. § 98l{a){l)(C) and 28 U.S.C. § 2461 as

  property, real or personal, which constitutes or is derived from proceeds traceable

  to a violation of a specified unlawful activity within the meaning of 18 U.S.C.

  § 1956(c)(7) or a conspiracy to commit such offense, and/or in accordance with

  Title 18, United States Code, Section 1955{d), as property, including money, used

  in violation of Title 18, United States Code, Section 1955.

               c.     The defendant knowingly and voluntarily waives and agrees to

  waive any and all constitutional, statutory, and other challenges to the forfeiture on

  any and all grounds, including that the forfeiture constitutes an excessive fine or

  punishment under the Eighth Amendment. The defendant knowingly and

  voluntarily waives any right to a jury trial on the forfeiture of property.

               d.     The defendant agrees to consent promptly upon request to the

  entry of any orders deemed necessary by the government or the Court to complete

  the forfeiture and disposition of the property. The defendant waives the

  requirements of Rules 32.2 and 43(a) of the Federal Rules of Criminal Procedure

                                             13
Case 1:23-cr-00086-JMS      Document 102      Filed 01/13/25    Page 14 of 19 PageID.428




  regarding notice of forfeiture in the charging instrument, announcement of

  forfeiture at sentencing, and incorporation of the forfeiture in the judgment. The

  defendant acknowledges that he understands that the forfeiture of the property, if

  the government elects to conduct the forfeiture criminally, will be part of the

  sentence imposed upon the defendant in this case and waives any failure by the

  Court to advise the defendant of this, pursuant to Rule 11 (b)( 1)(J) of the Federal

  Rules of Criminal Procedure, during the change of plea hearing. Pursuant to Rule

  32.2(b)(4) of the Federal Rules of Criminal Procedure, the defendant consents to

  the preliminary order of forfeiture for the Specific Property becoming final as to

  the defendant when entered.

               e.      The defendant agrees to waive all interest in the Specific

  Property in any administrative or judicial forfeiture proceeding, whether criminal

  or civil, state or federal, and to withdraw any claim that the defendant may have

  filed in such a proceeding. The defendant further waives any other notice

  requirement that may apply to the administrative and/or civil forfeiture of the

  Specific Property.

               f.       The defendant understands that the forfeiture of the forfeitable

  property does not constitute and will not be treated as satisfaction, in whole or in

  part, of any fine, restitution, reimbursement of cost of imprisonment, or any other

                                            14
Case 1:23-cr-00086-JMS     Document 102       Filed 01/13/25   Page 15 of 19 PageID.429




  monetary penalty this Court may impose upon the defendant in addition to the

  forfeiture.

                           IMPOSITION OF SENTENCE

         16.    The defendant understands that the District Court in imposing

  sentence will consider the provisions of the Sentencing Guidelines. The defendant

  agrees that there is no promise or guarantee of the applicability or non-applicability

  of any Guideline or any portion thereof, notwithstanding any representations or

  predictions from any source.

         17.    The defendant understands that this Agreement will not be accepted or

  rejected by the Court until there has been an opportunity by the Court to consider a

  presentence report, unless the Court decides that a presentence report is

  unnecessary. The defendant understands that the Court will not accept an

  agreement unless the Court determines that the remaining charge adequately

  reflects the seriousness of the actual offense behavior and accepting the Agreement

  will not undermine the statutory purposes of sentencing.

                            WAIVER OF TRIAL RIGHTS

         18.    The defendant understands that by pleading guilty he surrenders

  certain rights, including the following:




                                             15
Case 1:23-cr-00086-JMS      Document 102      Filed 01/13/25    Page 16 of 19 PageID.430




               a.     If the defendant persisted in a plea of not guilty to the charges

  against him, then he would have the right to a public and speedy trial. The trial

  could be either a jury trial or a trial by a judge sitting without a jury. The

  defendant has a right to a jury trial. However, in order that the trial be conducted

  by the judge sitting without a jury, the defendant, the prosecution, and the judge all

  must agree that the trial be conducted by the judge without a jury.

               b.     If the trial is a jury trial, the jury would be composed of twelve

  laypersons selected at random. The defendant and his attorney would have a say

  in who the jurors would be by removing prospective jurors for cause where actual

  bias or other disqualification is shown, or without cause by exercising peremptory

  challenges. The jury would have to agree unanimously before it could return a

  verdict of either guilty or not guilty. The jury would be instructed that the

  defendant is presumed innocent, and that it could not convict him unless, after

  hearing all the evidence, it was persuaded of his guilt beyond a reasonable doubt.

               c.     If the trial is held by a judge without a jury, the judge would

  find the facts and determine, after hearing all the evidence, whether or not he or he

  was persuaded of the defendant's guilt beyond a reasonable doubt.

               d.     At a trial, whether by a jury or a judge, the prosecution would

  be required to present its witnesses and other evidence against the defendant. The

                                            16
Case 1:23-cr-00086-JMS     Document 102         Filed 01/13/25   Page 17 of 19 PageID.431




  defendant would be able to confront those prosecution witnesses and his attorney

  would be able to cross-examine them. In turn, the defendant could present

  witnesses and other evidence on his own behalf. If the witnesses for the defendant

  would not appear voluntarily, the defendant could require their attendance through

  the subpoena power of the Court.

               e.     At a trial, the defendant would have a privilege against

  self-incrimination so that he could decline to testify, and no inference of guilt

  could be drawn from his refusal to testify.

        19.    The defendant understands that by pleading guilty, he is waiving all of

  the rights set forth in the preceding paragraph. The defendant's attorney has

  explained those rights to him, and the consequences of the waiver of those rights.

                           USE OF PLEA STATEMENTS

        20.    If, after signing this Agreement, the defendant decides not to plead

  guilty as provided herein, or if the defendant pleads guilty but subsequently makes

  a motion before the Court to withdraw his guilty plea and the Court grants that

  motion, the defendant agrees that any admission of guilt that he makes by signing

  this Agreement or that he makes while pleading guilty as set forth in this

  Agreement may be used against his in a subsequent trial if the defendant later

  proceeds to trial. The defendant voluntarily, knowingly, and intelligently waives

                                            17
Case 1:23-cr-00086-JMS       Document 102      Filed 01/13/25   Page 18 of 19 PageID.432




  any protection afforded by Rule 11 (t) of the Federal Rules of Criminal Procedure

  and Rule 410 of the Federal Rules of Evidence regarding the use of statements

  made in this Agreement or during the course of pleading guilty when the guilty

  plea is later withdrawn. The only exception to this paragraph is where the

  defendant fully complies with this Agreement but the Court nonetheless rejects it.

  Under those circumstances, the United States may not use those statements of the

  defendant for any purpose.

        21.       The defendant understands that the prosecution will apprise the Court

  and the United States Probation Office of the nature, scope and extent of the

  defendant's conduct regarding the charges against her, related matters, and any

  matters in aggravation or mitigation relevant to the issues involved in sentencing.

        22.       The defendant and his attorney acknowledge that, apart from any

  written proffer agreements, if applicable, no threats, promises, agreements or

  conditions have been entered into by the parties other than those set forth in this

  Agreement, to induce the defendant to plead guilty. Apart from any written

  proffer agreements, if applicable, this Agreement supersedes all prior promises,

  agreements or conditions between the parties.

        23.       To become effective, this Agreement must be signed by all signatories

  listed below.

                                             18
.
'   Case 1:23-cr-00086-JMS     Document 102        Filed 01/13/25   Page 19 of 19 PageID.433




            24.    Should the Court refuse to accept this Agreement, it is null and void

      and neither party shall be bound thereto.

      AGREED:

      CLARE E. CONNORS
      United States Attorney
      Distric of Hawaii



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                                             Dated: _ 1    (_3_l,-J-<
                                                                  =--~ -
      Chief, White Collar Crimes


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       u1L CASPINO
           ~                                 Dated: l   c-/ -~I / i.-'1
                                                                I
      wiLLIAM
      Defendant


                                             Dated:
                J. CHRISTENSEN, ESQ.
            ey for Defendant




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